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                EXHIBIT B
        Case 1:23-cr-00100-DAE Document 88-3 Filed 06/18/24 Page 2 of 5




From: Buie, Alan (USATXW) <Alan.Buie@usdoj.gov>
Sent: Tuesday, February 13, 2024 3:31 PM
To: Latcovich, Simon <SLatcovich@wc.com>; Looby, Patrick <PLooby@wc.com>; Gerry
Morris <egm@egmlaw.com>
Subject: Fwd: US v. Paul, -23-CR-100-DAE

Please see below. I’m out sick today but should be back at the office and able to discuss
tomorrow.

Alan M. Buie
512.417.2901

From: Volavka, Richard (USATXW) <RVolavka@usa.doj.gov>
Sent: Tuesday, February 13, 2024 2:28 PM
To: Buie, Alan (USATXW) <ABuie@usa.doj.gov>
Subject: RE: US v. Paul, -23-CR-100-DAE

Here is the list…

ALL_CUSTODIAN
APPNAME
ATTACHCOUNT
ATTACHMENTS
AUTHOR
BATCHID
BCC
BEGATT
BEGATT_ALT
BEGIN_BATES
BODY
CC
CHILD_BATES
Control Number
CONVERSATION INDEX
CREATIONDATE
CREATIONDATE_TIME
CUSTODIAN
DATE_ACCESSED
DATE_CREATED
DATE_LAST_MOD
DATE_PARENT_SORT
DATE_PRINTED
DATE_RECEIVED
DATE_SAVED
DATE_SENT
DATE_SENT_FL
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DECRYPTION PASSWORD
DECRYPTION_PASSWORD
DOCEXT
DOCID
DOCTITLE
DOCUMENT IDS
DUPLICATE_CUSTODIAN_NAMES
EMAIL_SUBJECT
ENCRYPTED
ENDATT
ENDATT_ALT
ENDDOC
ENTITY COMPANY
ENTITY CREDIT CARD NUMBER
ENTITY EMAIL
ENTITY IP ADDRESS
ENTITY MONEY
ENTITY PERSON
ENTITY PERSONAL ID
ENTITY PHONE NUMBER
EXCEPTIONS
EXTRACTED_TEXT_SIZE
FAMILY DATE
FILE CLASS
FILENAME
FILENAME_EXTENSION
FILEPATH
FILESIZE
FILETYPEID
FROM
HEADERDOCTYPE
HIDDENCONTENT
ISEXCEPTION
ITEMID
LANGUAGE
LASTAUTHOR
LIST-UNSUBSCRIBE
LOCATIONS
MAILFOLDER
MD5HASH
MESSAGE ID
MSGCLASS
NUIX_KIND
NUIX_MIME_TYPE
ORIGINAL_FILENAME
PAGECOUNT
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PARENTID
PLACEHOLDER
POSITION
PRODBEGATT
PRODBEGDOC
PRODENDATT
PRODENDDOC
PRODUCTION NAME
PROPERTIES_CATEGORY
PROPERTIES_COMMENTS
PROPERTIES_COMPANY
PROPERTIES_KEYWORDS
PROTECTED
RECORDTYPE
RELATIVE_PATH
SEARCHABLEDOCID
SHA1
SOURCETITLE
SUBJECT
SYSTEM_CREATED_DATE_TIME
SYSTEM_CREATED_TIME
SYSTEM_DATE_ACCESSED
SYSTEM_DATE_CREATED
SYSTEM_LAST_ACCESS_DATE_TIME
SYSTEM_LAST_ACCESS_TIME
SYSTEM_LAST_MODIFIED_DATE_TIME
SYSTEM_LAST_MODIFIED_TIME
SYSTEM_TIME_ACCESSED
TIME_ACCESSED
TIME_SENT
TO
UNREAD
TEXTPATH
NATIVEPATH

Rick Volavka
ALS Chief
U.S. Attorney's Office
Western District of Texas
Office 210-384-7435

From: Buie, Alan (USATXW) <ABuie@usa.doj.gov>
Sent: Tuesday, February 13, 2024 2:25 PM
To: Volavka, Richard (USATXW) <RVolavka@usa.doj.gov>
Subject: Fwd: US v. Paul, -23-CR-100-DAE
        Case 1:23-cr-00100-DAE Document 88-3 Filed 06/18/24 Page 5 of 5




Can you get the information below for defense counsel? Thanks

Alan M. Buie
512.417.2901

From: Latcovich, Simon <SLatcovich@wc.com>
Sent: Tuesday, February 13, 2024 1:13:45 PM
To: Buie, Alan (USATXW) <ABuie@usa.doj.gov>
Cc: Looby, Patrick <PLooby@wc.com>; Gerry Morris <egm@egmlaw.com>
Subject: [EXTERNAL] US v. Paul, -23-CR-100-DAE

Alan,

I understand that LTSC is starting the process of preparing documents for production to us. Can
you please let us know what fields you are producing for each document? It might make sense
for us to have a brief call once we’ve had a chance to review the proposed fields. I’d like to
make sure we are all on the same page before this lengthy process finishes. Thanks.

Best regards,
Simon

Simon Latcovich
Williams & Connolly LLP
680 Maine Avenue SW, Washington, DC 20024
202-434-5967 | vcard| www.wc.com/slatcovich




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